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                IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

VALHALLA HOUSING III, LLC, a West
Virginia limited liability company,

          Plaintiff,

v.                                        CIVIL ACTION NO. 1:20cv223
                                                    (KLEEH)

GUILFORD REALTY, LLC, a Delaware limited
liability company, GUILFORD TAX CREDIT
FUND 27, LP, a Delaware limited partnership,
HUNT ELP, LTD., a Texas limited partnership,
1998 FUND XVIII SERIES, LTD., an Alabama
limited partnership, 1997 FUND XV SERIES A, LTD.,
an Alabama limited partnership, GUILFORD
CORPORATE TAX CREDIT FUND XIX, LTD.,

          Defendants.


                                  ORDER

     For reasons appearing to the Court, the Joint Motion to Stay

Discovery and Pretrial Deadlines [Dkt. No. 17] is GRANTED until

further order of the Court.

     It is so ORDERED.

     The Clerk is directed to transmit copies of this Order to all

counsel of record herein.


DATED: September 30, 2021


                                          /s/ Thomas S. Kleeh____
                                          THOMAS S. KLEEH
                                          UNITED STATES DISTRICT JUDGE


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